Case 1:18-cv-24996-KMM Document 29 Entered on FLSD Docket 11/19/2019 Page 1 of 3



                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                    CASE NUMBER 18-24996-CV-MOORE
                                          (17-20081-CR-MOORE)
                                       MAGISTRATE JUDGE REID


  ABDUL PIERRELUS,

           Movant,

  v.

  UNITED STATES OF AMERICA,

        Respondent.
  _____________________________/

                                  PRETRIAL NARRATIVE STATEMENT1

           Petitioner, Abdul Pierrelus, through undersigned counsel, files the instant Pretrial

  Narrative Statement:

  A.       General Statement of the Case

           Mr. Pierrelus was charged with conspiracy to access device fraud and aggravated identity

  theft. He pled guilty to both counts and was sentenced to imprisonment for 54 months on June 1,

  2017. Mr. Pierrelus did not appeal his criminal matter. As such, any petition to vacate his

  sentence pursuant to 28 U.S.C. § 2255 had to be filed by June 1, 2018.

           Mr. Pierrelus was not satisfied with his trial lawyer’s performance. He was not provided a

  copy of his PSI to review prior to his sentence and his trial lawyer did not file any objections on

  his behalf. Mr. Pierrelus did not seek a direct appeal. Instead, he hired Mr. Paul Petruzzi to

  pursue a habeas petition. Mr. Petruzzi suggested that Mr. Pierrelus pursue cooperation with the

  government first, since he felt that held more promise than filing a habeas petition. In early

  1 This pretrial narrative is filed under seal because it contains references to cooperation in matters that still may be

  current.
Case 1:18-cv-24996-KMM Document 29 Entered on FLSD Docket 11/19/2019 Page 2 of 3



  November 2018, Mr. Pierrelus’s wife Lourdjine Jadotte, executed a retainer agreement with Mr.

  Petruzzi, engaging him to either seek a Rule 35 sentence reduction or file a motion to vacate his

  sentence pursuant to 28 U.S.C. § 2255.

          There is evidence that Mr. Petruzzi attempted to engage the government in pursuing

  cooperation. However, while that process was underway, Mr. Pierrelus became doubtful that his

  efforts at cooperation would bear fruit. At some point Mr. Pierrelus informed Mr. Petruzzi by

  letter that he no longer wished to pursue cooperation, and instead wanted Mr. Petruzzi to pursue

  a habeas petition. By letter dated October 1, 2018, Mr. Petruzzi informed Mr. Pierrelus that the

  time to file his habeas petition had passed and that based on Mr. Petruzzi’s legal analysis, no

  equitable tolling would excuse a late filing. Mr. Pierrelus then proceeded to file a motion to

  vacate his sentence pro se.

  B.      Mr. Pierrelus’s Anticipated Testimony

          Mr. Pierrelus will testify that, with the assistance of his wife, he hired Mr. Petruzzi to

  either pursue a Rule 35 sentence reduction or file a motion to vacate his sentence. Mr. Petruzzi

  began to negotiate with the government to obtain a Rule 35 sentence reduction. However, at a

  certain point, Mr. Pierrelus felt it was fruitless to pursue cooperation and sent Mr. Petruzzi a

  letter requesting that he instead file a petition to vacate his sentence. He did not discover that

  Mr. Petruzzi failed to do so until he received a letter from Mr. Petruzzi dated October 1, 2018.

  Thereafter, Mr. Pierrelus filed the instant petition to vacate his sentence pro se.

  C.      Exhibits

  1.      Retainer agreement between Mr. Pierrelus and Mr. Petruzzi.

  2.      Emails between Mr. Petruzzi and prosecutor re potential cooperation of Mr. Pierrelus.

  3.      Text messages between Mr. Petruzzi and Ms. Jadotte.

  4.      Table of telephone calls from prison between Mr. Pierrelus and Mr. Petruzzi.
Case 1:18-cv-24996-KMM Document 29 Entered on FLSD Docket 11/19/2019 Page 3 of 3



  5.        Undated letter from Mr. Pierrelus to Mr. Petruzzi.

  6.        Letter dated October 1, 2018 from Mr. Petruzzi to Mr. Pierrelus.

            Copies of the exhibits are attached as exhibit A of this filing.

  D.        Witnesses

            Mr. Pierrelus will testify on his own behalf. Ms. Jadotte may also testify on Mr. Pierrelus’s

  behalf.

                                                           Respectfully submitted,

                                                           do Campo & Thornton, P.A.
                                                           Chase Bank Building
                                                           150 S.E. 2nd Avenue, Suite. 602
                                                           Miami, Florida 33131
                                                           Telephone: (305) 358-6600
                                                           Facsimile: (305) 358-6601




                                                           By:     ___________________________
                                                                   Orlando do Campo
                                                                   Florida Bar No. 0156582
                                                                   od@dandtlaw.com

                                      CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on November 19, 2019, I served Assistant United States

  Attorney Frank Tamen via email at frank.tamen@usdoj.gov.




                                                           ___________________________
                                                           Orlando do Campo
